               Case 9:20-cr-00032-DWM                               Document 188-4                    Filed 02/25/22                 Page 1 of 1



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Participants




Conversation - lnstant Messages (3)


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    Frorn: +1812305a776 Matt Malsh6[
    To: +             (ownerl

    Me too        ..couldn't have picked a belter, more sdid guy to make lh€ n€xl chapter of
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